        Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 1 of 6 PageID #:1



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 ANISSA LYNNET JONES,
                                                           CIVIL COMPLAINT
               Plaintiff,

 v.                                                              CASE NO. 1:16-cv-08938

 COMENITY BANK,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                         COMPLAINT FOR RELIEF PURSUANT
                   TO THE TELEPHONE CONSUMER PROTECTION ACT

        NOW comes ANISSA LYNNET JONES (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining of COMENITY BANK (“Defendant”), as

follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States and supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




                                                 1
       Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 2 of 6 PageID #:2



    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Northern District of Illinois and a substantial portion the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

                                                  PARTIES

    4. Plaintiff is a 47 year old person residing at 344 166th Street, Calumet City, Illinois, which

falls within the Northern District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

    6. Defendant is a national banking institution organized under the laws of the United States

with its headquarters located in Wilmington, Delaware. Defendant is a foreign company that

conducts business with consumers in Illinois.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

                              FACTS SUPPORTING CAUSES OF ACTION

    8. Beginning in approximately June 2015, Plaintiff started receiving phone calls from

Defendant to her cellular telephone, (708) 296-9357. See attached Exhibit A is a true and correct

copy of an affidavit signed by Plaintiff.

    9. Initially, the phone number that Defendant used to call Plaintiff was (614) 534-2525. See

Exhibit A.

    10. Defendant also used the following phone numbers to call Plaintiff: (614) 729-5608,

(614) 729-6087, (614) 729-5609, (303) 255-5354, (614) 729-6089, (913) 563-5510, (720) 456-

3693, (720) 456-3691, (614) 212 7532, (614) 229 5000 and (614) 212 52-95. Id.

    11. Upon information and belief, the above are all phone numbers utilized by Defendant to

contact consumers during its debt collection activities.




                                                     2
       Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 3 of 6 PageID #:3



    12. Plaintiff specifically told Defendant to stop calling her. Despite her demand, Defendant

continued to regularly call Plaintiff’s cellular phone until at least October 2015. Id.

    13. Defendant would call Plaintiff as many as eight times during the same day. On some

occasions, Defendant would place back to back calls seconds apart. Id.

    14. Plaintiff received not less than 130 calls from Defendant after asking it to stop calling

her. Id.

    15. When she answered calls from Defendant, Plaintiff often experienced a brief pause

before being connected with a live representative. Additionally, Plaintiff also answered several

phone calls phone calls from Defendant and heard “dead air” on the other end of the line. Id.

    16. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights

resulting in costs and expenses.

    17. Plaintiff has suffered financial loss as a result of Defendant’s actions.

    18. Plaintiff has suffered charges and expenses that she would not have otherwise incurred

if not for Defendant’s systematic calls, including the loss of cellular phone capacity.

    19. Plaintiff has been unfairly harassed by Defendant's actions.

    20. Plaintiff has suffered concrete harm as a result of Defendant’s actions

.
           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    21. Plaintiff repeats and realleges paragraphs 1 through 20 as though fully set forth herein.

    22. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

                                                  3
      Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 4 of 6 PageID #:4



   23. Defendant used an ATDS in connection with it communications directed towards

Plaintiff. The brief pause that Plaintiff experienced during answered calls before being

connected to a live representative of Defendant is instructive that an ATDS was being used.

Similarly, the “dead air” Plaintiff heard, along with the frequency and nature of Defendant’s

calls, strongly suggests that an ATDS was being utilized.

   24. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent Plaintiff may have given to Defendant was

explicitly revoked.

   25. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   26. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, ANISSA LYNNET JONES, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate




                                                4
        Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 5 of 6 PageID #:5



                        COUNT II – VIOLATIONS OF THE ILLINOIS
                 CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   27. Plaintiff restates and realleges paragraphs 1 through 26 as though fully set forth herein.

   28. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   29. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   30. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   31. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

through means of an ATDS when she requested that it no longer do so. Defendant ignored

Plaintiff’s request and continued to contact her, systematically calling as many as eight times

during the same day. Some of Defendant’s calls were in extreme proximity to one another and

placed with the hope that Plaintiff would be compelled to make payment. Defendant ignored

Plaintiff’s prompts to cease its calls and continued to seek payment from her.

   32. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   33. The ICFA further states:

               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against

                                                  5
      Case: 1:16-cv-08938 Document #: 1 Filed: 09/14/16 Page 6 of 6 PageID #:6



               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   34. As pled in paragraphs 17 through 20, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Defendant regularly engages in the above described behavior against consumers in Illinois and

for public policy reasons should be penalized.

   WHEREFORE, Plaintiff, ANISSA LYNNET JONES, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 14, 2016                     Respectfully submitted,

                                              s/ Nathan C. Volheim
                                              Nathan C. Volheim, Esq. #6302103
                                              Counsel for Plaintiff
                                              Admitted in the Central District of Illinois
                                              Sulaiman Law Group, Ltd.
                                              900 Jorie Boulevard, Suite 150
                                              Oak Brook, Illinois 60523
                                              (630) 575-8181 x113 (phone)
                                              (630) 575-8188 (fax)
                                              nvolheim@sulaimanlaw.com




                                                 6
